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                                        IN THE UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF VIRGINIA

     APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.l(D) AND LOCAL
                                             CRIMINAL RULE 57.4
              In Case Number 3:19-cv-00709-REP , Case Name - Piron  - - et-
                                                                          al v. GDIT
                                                                             - - - - -- - -- - -
             Party Represented by Applicant: Plaintiffs Piron, Merino, Thamvanthongkham and Beecroft

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT

FULL NAME (no initials, please) _l_sa_a_c_S_o_lo_m_o_n_R_a_is_n_e_r- - -- - - - - - - - - -- - - - -- - - - - -- -
Bar Identification Number 925103                     State -=G=e=o"""rq,.,,ia"'------
Firm Name Raisner Roupinian LLP
Firm Phone# (212) 221-1747                       Direct Dial # (212} 221 -1747 Ext. 452   FAX# (212)22J-J747
E-Mail Address jsr@rajsnerroupioian.com
Office Mailing Address 270 Madison Avenue, Suite 1801, New York, NY 10016

Name(s) of federal court(s) in which I have been admitted Northern Dist of GA, Middle District of GA, Southern District of GA

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am _ _ am not~ a full-time employee of the United States of America, and i f s ~ ; : exemption from the admission fee.

                                                                                     (App ~fifi't'?'Signa'lure)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                                                                                  12/22/21
                                                   (Signature)                                                    (Date)
                                                   Edward E. Bagnell, Jr.                                         74647
                                                          (Typed or Printed Name)                                 (VA Bar Number)
Court Use Only:

Clerk's Fee Paid ____ or Exemption Granted _ _ __

The motion for admission is GRANTED - - - - or DENIED - - - -




                         (Judge's Signature)                                                  (Date)
